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1                                                                            JUDGE JOHN C. COUGHENOUR
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7
                                       UNITED STATES DISTRICT COURT
8                                     WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
9
     UNITED STATES OF AMERICA,                                               )
10                                                                           )     CASE NO. CR 06-0079 JCC
                                    Plaintiff,                               )
11                                                                           )
                         v.                                                  )     ORDER
12                                                                           )
     KAYAK WILLIAM THOMAS, et al.,                                           )
13                                                                           )
                                    Defendants.                              )
14                                                                  )
15             This Court having considered the stipulation of the parties hereby GRANTS the
16   parties' request for a continuance of the trial date and pre-trial motions cutoff date.
17   Defendants Kayak William Thomas, Sung Min Kim, Vu Thanh Tran, Jason Lee Larson,
18   Andrew J. Sandstrom, and Andrew C. Heffron, each indicated his knowing, voluntary,
19   and intelligent waiver of his right to a speedy trial by executing a written waiver of his
20   right to a speedy trial through January 30, 2007.
21             In view of the parties' agreement to continue the trial date, for the reasons stated in
22   their stipulation, each defendant's knowing, voluntary, and intelligent waiver or
23   anticipated waiver of his right to a speedy trial, the parties' desire to continue to engage in
24   plea discussions, the complexity of the case, the number of witnesses, the superseding
25   indictment and the recent changes and anticipated changes of counsel for the defendants,
26   and the interest of the public in ensuring the accused adequate, effective, and continued
27   representation by counsel presently assigned, this Court finds that the ends of justice
28


     ORDER — 1                                                                                       UNITED STATES ATTORNEY
                                                                                                      700 Stewart Street, Suite 5220
     United States v. Kayak William Thomas, et al., Case No. CR 06-079 JCC
                                                                                                     Seattle, Washington 98101-1271
                                                                                                              (206) 553-7970
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1    served by granting a continuance outweighs the best interest of the public and the
2    defendant in a speedy trial.
3              The parties motion for continuance is GRANTED. Trial is reset
4    for January 16, 2007. The Pre-trial Motion cutoff date is reset for December 7, 2006.
5    The time from the filing of the stipulated motion through the new trial date shall be
6    excludable under the Speedy Trial Act, Title 18, United States Code,
7    Section 3161(h)(8)(A).
8




                                                                             A
9              Dated this 17th day of August, 2006.
10

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12                                                                           UNITED STATES DISTRICT JUDGE

13   Presented by:

14   s/ John J. Lulejian
     JOHN J. LULEJIAN
15   Assistant United States Attorney
     United States Attorney's Office
16   700 Union Street, Suite 5220
     Seattle, Washington 98101-1270
17   Telephone: (206) 553-7970
     Facsimile: (206) 553-0755
18   E-mail: John.Lulejian@usdoj.gov

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     ORDER — 2                                                                                      UNITED STATES ATTORNEY
                                                                                                     700 Stewart Street, Suite 5220
     United States v. Kayak William Thomas, et al., Case No. CR 06-079 JCC
                                                                                                    Seattle, Washington 98101-1271
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